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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA



                                                   :   Master Docket: Misc. No. 21-mc-1230-
 IN RE: PHILIPS RECALLED CPAP, BI-                 :   JFC
 LEVEL PAP, AND MECHANICAL                         :
 VENTILATOR PRODUCTS LITIGATION                    :   MDL No. 3014
                                                   :
 This Document Relates to:                         :   MOTION TO DISMISS
 All Actions                                       :   CONSOLIDATED AMENDED
                                                   :   CLASS ACTION COMPLAINT FOR
                                                   :   ECONOMIC LOSSES


       DEFENDANT POLYMER TECHNOLGIES, INC. MOTION TO DISMISS
      CONSOLIDATED THIRD AMENDED CLASS ACTION COMPLAINT FOR
           ECONOMIC LOSSES FOR FAILURE TO STATE A CLAIM

       Defendant Polymer Technologies, Inc. (hereinafter “PolyTech”), by and through its

undersigned counsel Eric Scott Thompson and Franklin & Prokopik, P.C., and pursuant to Federal

Rule of Civil Procedure 12(b)(6) hereby moves for this Honorable Court to Dismiss the

Consolidated Third Amended Class Action Complaint for Economic Losses for Failure to State a

Claim. The reasons for the foregoing motion are more fully set forth in Polymer Technologies’

Brief in support which is expressly incorporated herein by reference.

       WHEREFORE, Defendant, Polymer Technologies, Inc. respectfully requests that the

Court enter an order dismissing the Consolidated Third Amended Class Action Complaint for

Economic Losses against it with prejudice and grant such other and further relief as the Court may

deem just and proper.
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                                  Respectfully Submitted,

                                 FRANKLIN & PROKOPIK

                                  /s/ Eric Scott Thompson __
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                                 Newark, DE 19711
Dated: December 6, 2022          Attorneys for Polymer Technologies, Inc.
